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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION

UNITED STATES OF AMERICA

       VS                                                                CASE NO. 3:08CR23LAC

JAMES P. GLENN, JAMES B. GLENN,
and GERALD MCCOY

                                  REFERRAL AND ORDER

Referred to Judge Lacey Collier on MARCH 11, 2008
Motion/Pleadings: MOTION TO RELEASE ASSETS (specified in Court’s Order dated 2/29/08)
Filed by GOVERNMENT                     on 3/10/2008      Doc.# 23

RESPONSES:
                                               on                       Doc.#
                                               on                       Doc.#
        Stipulated             Joint Pldg.
        Unopposed              Consented
                                               WILLIAM M. McCOOL, CLERK OF COURT

                                               s/Mary Maloy
LC (1 OR 2)                                    Deputy Clerk: Mary Maloy

                                             ORDER
Upon   consideration      of   the   foregoing,       it    is    ORDERED    this    12 th   day   of
March, 2008, that:
(a) The relief requested is GRANTED.
(b)




                                                                 s /L.A. Collier
                                                              LACEY A. COLLIER
                                                    Senior United States District Judge

Entered On Docket:                    By:
Rules 58 & 79(a) FRCP or 32(d)(1) & 55 FRCRP
Copies sent to:




                               Document No.
